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             EXHIBIT C
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March 28, 2022

Honorable Judge McMahon
United States District Court Judge
United States Courthouse
New York, NY 10007

Re: United States v. Freedom Turner, 21 Cr. 409 (CM)

Judge McMahon,

       My name is Emma Famili and I am a social work intern at the Federal
Defenders of New York (FDNY). I work alongside Mr. Turner’s legal team and
under the clinical supervision of Rachelle Veasley, Director of Client and Mitigation
Services, LCSW. Our social work department at the Federal Defenders of New York
is able to provide reentry support for clients returning to the community.

       Mr. Turner and I have met in-person and virtually on a weekly basis since
November, 2021 to address the circumstances surrounding the offense conduct as
well as to begin engaging in reentry planning for his eventual return to the
community. Mr. Turner has been open and engaging in addressing the barriers and
challenges that have contributed to his incarceration. Mr. Turner has dedicated
himself to the task of identifying the barriers and challenges that have Although
Mr. Turner has been incarcerated for the past year, he has worked to remain in
contact with father and newborn son whom he longs to return to.

       In our discussions, we have collaborated to create a re-entry plan that sets
short, medium and long-term goals in the following areas:

       Housing: Mr. Turner will reside with his father upon being released. Mr.
Turner has remained in contact with his father throughout his detainment and
describes him as “a great support.” Mr. Turner’s father, Tyrone Turner, is in the
process of relocating to ensure he can attain a residence with enough space for his
son and grandson. Mr. Turner is working with his father to ensure that there is also
space for his son to be able to comfortably visit him.
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       Mental Health Treatment: Mr. Turner has used our sessions together to
reflect on the unresolved grief he has as a result of having witnessed his mother’s
death. Mr. Turner and his mother had a close and loving relationship that he
misses everyday, he describes her as his best friend and whole heart.” Mr. Turner
has been using our sessions as well as coping to help process his unresolved feelings
of grief as well as to process his actions. Mr. Turner is working to grow into a better
man. Mr. Turner will be connected with the mental health program at the Fortune
Society. Mr. Turner will meet with Andrew Tate to complete an intake assessment
virtually. Mr. Turner will attend sessions to engage in dialogue surrounding coping
with loss and healthy ways of processing his feelings on a weekly basis. Mr. Turner
is able to be connected with group therapy as well.

        Education/Vocation: Mr. Turner has completed his GED and hopes to
continue with his educational goals. Mr. Turner will be connected with the Fortune
Society, specifically the Hope Program that will assist him in “Job training,
certifications, and placements.” While working with the Hope Program, Mr. Turner
will also work towards attaining a certificate in Entrepreneurship through
Manhattan College where he will gain an education based on leadership and
business. After meeting with a mentor during an intake at the Hope Program, Mr.
Turner will begin working one on one with a mentor to build his resume, learn
interviewing skills, and then connect with various jobs that hire participants in the
program. Mr. Turner is determined to make a better life for himself by working
towards his dream of becoming an entrepreneur and he recognizes in order to do
this he will need to make small steps towards his goal. Mr. Turner is determined to
work hard in order to ensure he will have a sustainable job. Mr. Turner has been
engaging in discussing his resume and skills with me so that he is prepared once he
is released and connected with jobs training.

       Family: Family remains a vital part of Mr. Turner’s life. Mr. Turner has
remained in contact with his father and cousin who have provided emotional
support for him during his detainment. He keeps in regular contact with his family
and spends time reflecting on his past as well as looking forward to his future. Mr.
Turner's father has stated “I miss my son dearly, and I truly do see the growth and
development in Freedom.” Freedom is a father as well and longs to reconnect with
his son who he has worked hard to maintain communication with. Mr. Turner
wants to show his son what a good father is. Mr. Turner's father was always active
in his life and he hopes to be just as active in his own son’s life.
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       Mr. Turner is a hard-working and determined young man who is actively
working to change the trajectory of his life. Mr. Turner is remorseful for his actions
and is looking to the future to prove he is a better man. Mr. Turner longs to
reconnect with his family who have been supporting him throughout his
detainment. Mr. Turner is ready to be a better father to his son as well as a better
man for himself.
                                  Respectfully submitted,
                                  ____/s/____
                                  Emma Famili
                                  Social Work Intern
